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  11
                                UNITED STATES DISTRICT COURT
  12
                               CENTRAL DISTRICT OF CALIFORNIA
  13

  14
                                                )   CASE NO. 18-cv-02978-RSWL-E
         SPORT LISBOA E BENFICA -               )
  15
         FUTEBOL SAD,                           )
  16                                            )
                                                )   CLOUDFLARE, INC.’S NOTICE
  17
                 Plaintiff,                     )   OF MOTION AND MOTION TO
                                                )   DISMISS PLAINTIFF’S FIRST
  18        v.                                  )
                                                )   AMENDED COMPLAINT AND
  19                                            )   MEMORANDUM OF POINTS
         JOHN DOE 1 ET AL.,                     )   AND AUTHORITIES IN SUPPORT
  20                                            )
                                                )   THEREOF
  21             Defendants.                    )
                                                )
  22                                            )    Courtroom: TBD
                                                )    Date: August 28, 2018
  23                                            )    Time: 10:00 a.m.
                                                )    Judge: Hon. Ronald S.W. Lew
  24                                            )
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       CLOUDFLARE’S MOTION TO DISMISS
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   1          TO PLAINTIFF AND ITS ATTORNEYS OF RECORD:
   2          PLEASE TAKE NOTICE that, on August 28, 2018 at 10:00 a.m. or as soon
   3   thereafter as this matter may be heard before the Honorable Ronald S.W. Lew of the
   4   United States District Court for the Central District of California, located at 350 W.
   5   1st Street, Los Angeles, CA 90012, Defendant Cloudflare, Inc. (“Cloudflare”) will
   6   and does hereby move for dismissal of the First Amended Complaint as to Cloudflare.
   7          Plaintiff Sport Lisboa e Benfica Futebol Sad’s (“Plaintiff”) First Amended
   8   Complaint (“Complaint”) as to Cloudflare fails to state a claim upon which relief can
   9   be granted. In particular:
  10          A.    The Court should dismiss Plaintiff’s Defend Trade Secrets Act Claim
  11   (Count 3) because Cloudflare is an interactive computer service provider immune
  12   from trade-secret liability for failure to remove Internet content under Section 230 of
  13   the Communications Decency Act and because Plaintiff otherwise fails to state a fa-
  14   cially plausible claim.
  15          B.    The Court should dismiss Plaintiff’s Electronic Communications Privacy
  16   Act Claim (Count 4) because Plaintiff fails to plead a plausible claim.
  17          C.    The Court should dismiss Plaintiff’s Negligent Interference With Pro-
  18   spective Economic Advantage Claim (Count 8) because the claim fails under Section
  19   230 of the Communications Decency Act; the California Uniform Trade Secrets Act
  20   preempts the claim; and the claim is facially implausible.
  21          D.    The Court should dismiss Plaintiff’s Declaratory Judgment Claim (Count
  22   13) because the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, does not create
  23   an independent cause of action.
  24          E.    The Court should dismiss the Complaint as to Cloudflare with prejudice
  25   and deny leave to amend on futility grounds because there is no basis in law to hold
  26   Cloudflare liable for Plaintiff’s alleged injuries.
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   1          Cloudflare bases its Motion on this Notice, the Memorandum of Points and Au-
   2   thorities filed herewith, all pleadings and papers on file in this action, and all matters
   3   of which the Court may take judicial notice.
   4          This Motion is made following a conference of counsel pursuant to L.R. 7-3
   5   that took place on June 28, 2018.
   6

   7   Dated: July 6, 2018
   8
                                               By:        /s/ Steven C. Callahan
   9
                                                                Steven C. Callahan
  10                                                     Counsel for Defendant Cloudflare, Inc.
                                                         E-mail: scallahan@ccrglaw.com
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    1                   MEMORANDUM OF POINTS AND AUTHORITIES
    2   I.      INTRODUCTION
    3           Plaintiff is aggrieved because a hacker purportedly obtained access to its com-
    4   puter network, stole certain of Plaintiff’s alleged trade secrets, and posted those trade
    5   secrets onto Internet websites. Plaintiff rightly seeks to hold the hacker liable for his
    6   misdeeds. But Plaintiff has improperly brought this lawsuit against Cloudflare seek-
    7   ing to hold it liable for failing to remove the allegedly misappropriated content from
    8   the Internet.
    9           Each of Plaintiff’s claims against Cloudflare fails. Plaintiff’s claims for trade-
   10   secret misappropriation under the Defend Trade Secrets Act (“DTSA”) and negligent
   11   interference with prospective economic advantage are barred under Section 230 of the
   12   Communications Decency Act (“CDA”). Section 230 immunizes interactive computer
   13   service providers like Cloudflare from failure-to-remove claims, because under Sec-
   14   tion 230 Cloudflare has no duty to remove content posted on a website by someone
   15   else.
   16           Further, none of Plaintiff’s claims are plausible under Twombly and Iqbal, as
   17   Plaintiff asserts no cause of action that would render Cloudflare liable for the failure
   18   to remove content posted on a website that Cloudflare allegedly hosts. The Electronic
   19   Communications Privacy Act (“ECPA”) does not require website hosts to remove
   20   trade secrets allegedly misappropriated and posted by hackers, nor does the DTSA.
   21   Plaintiff’s state-law claim for negligent-interference fails because, among other
   22   things, Cloudflare owes no duty to Plaintiff. And, even if Plaintiff’s negligent-
   23   interference claim was plausible, the California Uniform Trade Secrets Act (“CUT-
   24   SA”) would preempt it. Finally, the Court should dismiss Plaintiff’s cause of action
   25   for “declaratory relief” because no such cause of action exists.
   26           For these and the other reasons explained below, the Court should dismiss
   27   Plaintiff’s claims against Cloudflare with prejudice.
   28

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    1   II.       PLAINTIFF’S COMPLAINT
    2             The Complaint pleads the following facts:1 Plaintiff is a professional soccer
    3   team based in Portugal. See Compl. ¶ 1. Plaintiff possesses trade secrets—the “Mis-
    4   appropriated Trade Secrets”—that it maintains in a “protected computer network.” Id.
    5   ¶¶ 2-3. Defendant John Doe 1 (the “Hacker”), along with “his/her/its co-conspirators”
    6   (“Does 2-100”), hacked into Plaintiff’s protected computer network and improperly
    7   acquired the Misappropriated Trade Secrets. Id. ¶ 3. The Misappropriated Trade Se-
    8   crets were then uploaded to certain websites, including www.rgho.st. Id. ¶¶ 31-32.
    9             Plaintiff alleges that Cloudflare “is a server proxy for and/or hosts the website
   10   located at the URL www.rgho.st[.]” Id. ¶ 9; see also id. ¶ 30 (alleging that Cloudflare
   11   “maintains” the rgho.st website). According to Plaintiff, the rgho.st website is “owned
   12   and/or maintained” by Defendant Realistic Group, LLC. Id. ¶¶ 10, 31; compare id. ¶
   13   32 (alleging that Defendant Regtime Ltd. “maintains” www.rgho.st).
   14             In 2017-2018, Plaintiff learned that the Misappropriated Trade Secrets had
   15   been posted on the Internet and discovered that it had been hacked. Id. ¶ 24. Plaintiff
   16   “notified the Defendants through its Portuguese counsel that certain postings on the
   17   websites owned and/or operated by the Defendants are Misappropriated Trade Secrets
   18   and repeatedly demanded the removal of [the] Misappropriated Trade Secrets from
   19   the Defendants’ websites.”2 Id. ¶ 27. Defendants, however, “refused to remove the
   20   Misappropriated Trade Secrets from the Defendants’ webpages.” Id. ¶ 36.
   21

   22
              1
   23          Cloudflare disputes Plaintiff’s allegations—including the allegation that Cloud-
        flare hosts or maintains any of the websites-at-issue. Cloudflare is a pass-through in-
   24   ternet intermediary that provides cybersecurity and optimization services to websites.
        Cloudflare does not host websites. Removing Cloudflare’s services will not remove
   25   content that exists on the Internet but only make it slower and less secure. Plaintiff
        mistakenly asserts otherwise. Cloudflare understands that the Court will generally
   26   treat Plaintiff’s assertions of fact as true for purposes of this Motion to Dismiss, see
        Perez v. Nidek Co., 711 F.3d 1109, 1112 n.1 (9th Cir. 2013), and Cloudflare believes
   27   there is ample grounds to grant Cloudflare’s Motion on the facts as pled.
            2
   28          Plaintiff defines “Defendants” to mean all defendants, including Cloudflare.
        Compl. at 2.
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    1          Based solely on this “refusal to remove,” Plaintiff asserts four causes of action
    2   against Cloudflare:
    3           Misappropriation of Trade Secrets under the DTSA (Count 3): Plaintiff
    4             alleges that, once Cloudflare knew that the disclosure “of Plaintiff’s trade
    5             secrets was improper,” Cloudflare’s “failure to remove such information . . .
    6             constitutes [Cloudflare’s] improper acquisition and misappropriation of
    7             Plaintiff’s trade secrets.” Compl. ¶ 78.
    8           Violation of the ECPA (Count 4): Although Plaintiff pleads this cause of
    9             action against Cloudflare, its allegations focus principally on the Hacker:
   10             “Defendant Hacker . . . violated 18 U.S.C. § 2511(1)(a)-(d) of the Electronic
   11             Communications Privacy Act by knowingly and intentionally intercepting
   12             and/or procuring, the Misappropriated Trade Secrets. Defendants then inten-
   13             tionally disclosed and used the contents of the Misappropriated Trade Se-
   14             crets.” Compl. ¶ 90.
   15           Negligent Interference with Prospective Economic Advantage (Count
   16             8): Plaintiff asserts that it “has an expectancy in continuing and [sic] advan-
   17             tageous economic relationships” and that “[h]ad Defendants refrained from
   18             engaging in the unlawful and wrongful conduct described in this Complaint,
   19             there is a substantial probability that Plaintiff would have increased its fu-
   20             ture economic benefits.” Compl. ¶¶ 138-39. “Defendants knew or should
   21             have known about the economic relationship, described above, and knew or
   22             should have known that these relationships would be interfered with and
   23             disrupted if Defendants failed to act with reasonable care in their conduct re-
   24             lated to the Misappropriated Trade Secrets.” Id. ¶ 140. “As a result of De-
   25             fendants’ failure to act with reasonable care, Plaintiff’s relationships have
   26             been actually disrupted.” Id. ¶ 141.
   27           Declaratory Relief (Count 13): Plaintiff pleads that “[a]n actual controver-
   28             sy has arisen between Plaintiffs and Defendants, and each of them, with re-

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    1               spect to the rights, obligations and duties of the parties, warranting the issu-
    2               ance of a declaratory judgment.” Id. ¶ 170.
    3   III.   ARGUMENT
    4          A.      Motion To Dismiss Standard
    5          Rule 12(b)(6) allows a court to dismiss a claim if it fails to “state a claim upon
    6   which relief can be granted.” Under Rule 8(a)(2), a complaint must contain “a short
    7   and plain statement of the claim showing that the pleader is entitled to relief[.]” The
    8   plaintiff’s obligation to provide the “grounds of [its] entitle[ment] to relief requires
    9   more than labels and conclusions, and a formulaic recitation of the elements of a
   10   cause of action will not do[.]” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
   11   (quotations omitted). Instead, “[f]actual allegations must be enough to raise a right to
   12   relief above the speculative level” and the complaint must, at a minimum, “state a
   13   claim to relief that is plausible on its face.” Id. at 555, 570. Where claims are only
   14   conceivable, but not plausible, the complaint must be dismissed. Id. at 570.
   15          “A claim has facial plausibility when the plaintiff pleads factual content that al-
   16   lows the court to draw the reasonable inference that the defendant is liable for the
   17   misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The plausibility
   18   standard requires “more than a sheer possibility that a defendant has acted unlawful-
   19   ly” and “more than an unadorned, the-defendant-unlawfully-harmed-me accusation.”
   20   Id. Pleading facts that are “merely consistent with a defendant’s liability [] stops short
   21   of the line between possibility and plausibility of entitlement to relief.” Id. (quotations
   22   and citation omitted). “[W]here the well pleaded facts do not permit the court to infer
   23   more than the mere possibility of misconduct, the complaint has alleged—but it has
   24   not ‘show[n]’—‘that the pleader is entitled to relief’” and dismissal is required. Id. at
   25   679 (quoting Fed. R. Civ. P. 8(a)(2)).
   26          B.      The Court Should Dismiss Plaintiff’s Defend Trade Secrets Act
                       Claim (Count 3)
   27
               The Court should dismiss Plaintiff’s DTSA claim for two independent reasons.
   28
        First, Cloudflare is an interactive computer service provider immune from trade-secret
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    1   liability for failure to remove Internet content under Section 230 of the CDA.3
    2   Second, Plaintiff’s trade-secret claim fails to state a plausible claim.
    3                1.     Plaintiff’s DTSA Claim Fails Under Section 230 Of The CDA
    4          Section 230 of the Communications Decency Act “immunizes providers of in-
    5   teractive computer services against liability arising from content created by third par-
    6   ties.”4 Kimzey v. Yelp! Inc., 836 F.3d 1263, 1265 (9th Cir. 2016) (citing and quoting
    7   Fair Hous. Council of San Fernando Valley v. Roommates.Com, LLC, 521 F.3d 1157,
    8   1162 (9th Cir. 2008) (en banc)). Specifically, Section 230 provides that “[n]o provider
    9   or user of an interactive computer service shall be treated as the publisher or speaker
   10   of any information provided by another information content provider.” 47 U.S.C. §
   11   230(c)(1). In this case, Cloudflare is a provider of an interactive computer service.
   12   And, to succeed with its claims, Plaintiff would require that Cloudflare be treated as
   13   the publisher or speaker of the information uploaded to the Internet by the Hacker.
   14   Accordingly, Cloudflare is immune from DTSA liability under Section 230.
   15                       a.     Cloudflare Is An Interactive Computer Service
   16          An “interactive computer service” is “any information service, system, or ac-
   17   cess software provider that provides or enables computer access by multiple users to a
   18   computer server, including specifically a service or system that provides access to the
   19   Internet[.]” 47 U.S.C. § 230(f)(2). Because it allegedly hosts and maintains a website
   20   (www.rgho.st), Cloudflare is a provider of an information service, system, and access
   21
           3
   22          Section 230 immunity is properly raised on a motion to dismiss. See, e.g., Kim-
        zey v. Yelp! Inc., 836 F.3d 1263, 1267 (9th Cir. 2016); Jefferson v. Zukerberg, 17-CV-
   23   3299, 2018 WL 3241343, at *5 (D. Md. July 3, 2018) (“[T]he CDA immunity is
        broad and must be determined at the earliest possible stage of the case.”) (citation and
   24   quotation omitted).
           4
   25          “Section 230 was prompted by a state court case holding Prodigy responsible
        for a libelous message posted on one of its financial message boards.” Fair Hous.
   26   Council of San Fernando Valley v. Roommates.Com, LLC, 521 F.3d 1157, 1163 (9th
        Cir. 2008) (en banc). In Prodigy, the court held Prodigy liable for not removing the
   27   content-at-issue from its website. Id. at 1170. Congress sought to reverse Prodigy’s
        holding when passing Section 230. Id. “Section 230 [] sought to prevent lawsuits
   28   from shutting down websites and other services on the Internet.” Batzel v. Smith, 333
        F.3d 1018, 1027-28 (9th Cir. 2003).
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    1   software that enables computer access by multiple users (e.g., anyone with a computer
    2   and an Internet connection) to a computer server (e.g., the server that hosts
    3   www.rgho.st), including a service and system that provides access to the Internet.5
    4          Website hosts—as Plaintiff alleges Cloudflare is here—are providers of inter-
    5   active computer services under Section 230. See, e.g., Barnes v. Yahoo!, Inc., 570
    6   F.3d 1096, 1101 (9th Cir. 2009) (Yahoo’s hosting of webpages qualifies as an interac-
    7   tive computer service); Kimzey, 836 F.3d at 1268 (“Yelp is plainly a provider of an
    8   ‘interactive computer service,’ see 47 U.S.C. § 230(f)(2), a term that we interpret ‘ex-
    9   pansive[ly]’ under the CDA”); Fair Hous., 521 F.3d at 1162 n.6 (“Today, the most
   10   common interactive computer services are websites.”).6
   11                      b.     The Hacker Is An Information Content Provider
   12          An “information content provider” is “any person or entity that is responsible,
   13   in whole or in part, for the creation or development of information provided through
   14   the Internet or any other interactive computer service.” 47 U.S.C. § 230(f)(3). Plaintiff
   15   does not contend that Cloudflare posted or uploaded the Misappropriated Trade Se-
   16   crets to www.rgho.st—instead, Plaintiff alleges that the Hacker posted the allegedly
   17   offending materials. See Compl. ¶ 5. In fact, Plaintiff specifically pleads that the
   18   Hacker, as a “develope[r] [of] the illegal postings placed on other Defendants’ web-
   19
           5
   20          “Internet” means “the international computer network of both Federal and non-
        Federal interoperable packet switched data networks.” 47 U.S.C. § 230(f)(1); Compl.
   21   ¶ 5 (the Hacker “uploaded the Misappropriated Trade Secrets onto the Internet on
        multiple webpages within multiple websites”).
   22      6
               See also Darnaa, LLC v. Google, Inc., 15-CV-03221, 2016 WL 6540452, at *7
   23   (N.D. Cal. Nov. 2, 2016) (YouTube is an interactive computer service); W. Sugar Co-
        op. v. Archer-Daniels-Midland Co., 11-CV-3473, 2013 WL 12123307, at *2 (C.D.
   24   Cal. Sept. 16, 2013) (“Section 230 of the CDA immunizes providers of interactive
        computer services, such as website operators like Plaintiffs, against liability . . .”);
   25   Caraccioli v. Facebook, Inc., 167 F. Supp. 3d 1056, 1065 (N.D. Cal. 2016) (“Face-
        book provides an interactive computer service.”); Ricci v. Teamsters Union Local
   26   456, 13-CV-07729, 2014 WL 11353151, at *2 (S.D.N.Y. Apr. 28, 2014) (“passive
        host of third party content on [a] server or websites [constitutes] an interactive com-
   27   puter service that is entitled to immunity”); Hadley v. GateHouse Media Freeport
        Holdings, Inc., 12-CV-1548, 2012 WL 2866463, at *2 (N.D. Ill. July 10, 2012) (“De-
   28   fendant, as a website host that allows readers to post comments, is an interactive com-
        puter service.”).
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    1   sites,” is a “developer” who is “not entitled to immunity under Communications De-
    2   cency Act, 47 U.S.C. §230.” Compl. ¶ 73. But Plaintiff makes no such claim as to
    3   Cloudflare—nor could it. The Hacker, as the one responsible for posting information
    4   on the Internet, is thus an information content provider.
    5                      c.     Cloudflare Is Immune From DTSA Liability Because
                                  Plaintiff’s Claims Would Require Cloudflare To Be Treated
    6                             As The Hacker
    7          Under Section 230, Cloudflare (an interactive computer service) cannot be
    8   treated as the publisher or speaker of any information provided by the Hacker on
    9   www.rgho.st. Instead, Cloudflare is immune under Section 230 where liability would
   10   depend on Cloudflare’s alleged role as a publisher or speaker. See, e.g., Sikhs for Jus-
   11   tice, Inc. v. Facebook, Inc., 697 Fed. App’x 526 (9th Cir. 2017) (CDA “provides in-
   12   teractive computer service providers immunity from civil liability when the claim is
   13   premised upon the provider’s role as ‘the publisher or speaker of any information
   14   provided by another information content provider’”) (quoting 47 U.S.C. § 230(c)(1),
   15   (c)(2)); Carafano v. Metrosplash.com, Inc., 339 F.3d 1119, 1124 (9th Cir. 2003)
   16   (“Under § 230(c), therefore, so long as a third party willingly provides the essential
   17   published content, the interactive service provider receives full immunity[.]”).
   18          Here, it is undisputable that Cloudflare’s alleged liability depends on treating
   19   Cloudflare as a publisher—indeed, Plaintiff only sued Cloudflare because Cloudflare
   20   allegedly failed to remove the Misappropriated Trade Secrets from www.rgho.st. See
   21   Compl. ¶¶ 36, 78 (“Defendants [sic] failure to remove such information upon receipt
   22   of Plaintiff’s objections to disclosure of and requests to remove the Misappropriated
   23   Trade Secrets constitutes Defendants’ improper acquisition and misappropriation of
   24   Plaintiff’s trade secrets.”). Courts regularly reject such “failure to remove” claims in
   25   view of Section 230 immunity:
   26           Klayman v. Zuckerberg, 753 F.3d 1354, 1357-59 (D.C. Cir. 2014) (Section
   27             230 rendered Facebook immune from claim that it failed to remove a
   28             webpage—Facebook was not liable where the complaint charged it with “al-

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    1             lowing” the pages to exist and “furthering” them by not “remov[ing] these
    2             postings” because “a website does not create or develop content when it
    3             merely provides a neutral means by which third parties can post information
    4             of their own independent choosing online”; publication means “both the
    5             communication of, and the failure to remove, the relevant content” as “the
    6             very essence of publishing is making the decision whether to print or retract
    7             a given piece of content”) (emphases added).
    8           Zeran v. Am. Online, Inc., 129 F.3d 327, 330 (4th Cir. 1997) (“§ 230 pre-
    9             cludes courts from entertaining claims that would place a computer service
   10             provider in a publisher’s role. Thus, lawsuits seeking to hold a service pro-
   11             vider liable for its exercise of a publisher’s traditional editorial functions—
   12             such as deciding whether to publish, withdraw, postpone or alter content—
   13             are barred.”) (emphasis added).
   14           Green v. Am. Online (AOL), 318 F.3d 465, 471 (3d Cir. 2003) (“There is no
   15             real dispute that Green’s fundamental tort claim is that AOL was negligent
   16             in promulgating harmful content and in failing to address certain harmful
   17             content on its network. Green thus attempts to hold AOL liable for decisions
   18             relating to the monitoring, screening, and deletion of content from its net-
   19             work—actions quintessentially related to a publisher’s role. Section 230
   20             specifically proscribes liability in such circumstances.”) (citation and quota-
   21             tions omitted) (emphases added).
   22           Carafano v. Metrosplash.com Inc., 207 F. Supp. 2d 1055, 1064 (C.D. Cal.
   23             2002) (“[C]laims seeking to hold a service provider liable for its exercise of
   24             a publisher’s traditional editorial functions—such as deciding whether to
   25             publish, withdraw, postpone or alter content—are barred.”) (emphasis add-
   26             ed).
   27           Gavra v. Google Inc., 12-CV-06547, 2013 WL 3788241, at *3 (N.D. Cal.
   28             July 17, 2013) (“Plaintiffs’ extortion claim is simply a relabeled negligence

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    1             claim, which is in turn another attempt to hold Google liable for publication
    2             activity. Google has assumed no affirmative duty to protect Plaintiffs from
    3             extortion and to remove the videos, and, even if it had, any such duty would
    4             have arisen from its role as a publisher. The CDA protects Google in all
    5             these instances.”) (citation and quotations omitted) (emphases added).
    6           Cohen v. Facebook, Inc., 252 F. Supp. 3d 140, 157 (E.D.N.Y. 2017) (“Sec-
    7             tion 230(c)(1) prevents courts from entertaining civil actions that seek to
    8             impose liability on defendants like Facebook for allowing third parties to
    9             post offensive or harmful content or failing to remove such content once
   10             posted.”) (emphasis added).
   11           Stevo Design, Inc. v. SBR Mktg. Ltd., 919 F. Supp. 2d 1112, 1127 (D. Nev.
   12             2013) (dismissing misappropriation of trade secret claim brought under state
   13             law as immunized under the CDA).
   14           GW Equity LLC v. Xcentric Ventures LLC, 07-CV-976, 2009 WL 62173, at
   15             *19 (N.D. Tex. Jan. 9, 2009) (dismissing disclosure of trade secret claim
   16             based on Section 230).
   17           Hassell v. Bird, S235968, 2018 WL 3213933, at *1 (Cal. July 2, 2018) (Sec-
   18             tion 230 precluded an injunction directed to Yelp compelling it to remove
   19             defamatory post from a Yelp user who had been found to have defamed
   20             plaintiff—injunction improperly treated Yelp as a publisher).
   21          The Ninth Circuit, in Barnes v. Yahoo!, Inc., 570 F.3d 1096 (9th Cir. 2009),
   22   specifically rejected a lawsuit premised on Plaintiff’s failure-to-remove liability theo-
   23   ry. In Barnes, the plaintiff’s ex-boyfriend posted profiles of plaintiff containing nude
   24   photographs taken without her knowledge on a website run by Yahoo. Id. at 1098.
   25   The ex-boyfriend also posted an “open solicitation” to engage in sexual intercourse,
   26   as well as plaintiff’s address and telephone number. Id. “Before long, men whom
   27   [plaintiff] did not know were peppering her office with emails, phone calls, and per-
   28   sonal visits, all in the expectation of sex.” Id. The plaintiff requested removal of the

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    1   profiles. Id. After Yahoo failed to remove the profiles, plaintiff filed suit, asserting a
    2   negligent undertaking claim. Id. at 1099. The district court dismissed plaintiff’s claim
    3   “on the ground that section 230(c)(1) makes Yahoo ‘immune’ against any liability for
    4   the content that [plaintiff’s] former boyfriend had posted.” Id. at 1100. The Ninth Cir-
    5   cuit affirmed.
    6          In the process, the Ninth Circuit found that Section 230(c) “bars courts from
    7   treating certain internet service providers as publishers or speakers.” Id.
    8   “[P]ublication involves reviewing, editing, and deciding whether to publish or to
    9   withdraw from publication third-party content.” Id. at 1102 (emphasis added); see al-
   10   so Fair Hous., 521 F.3d at 1170-71 (“[A]ny activity that can be boiled down to decid-
   11   ing whether to exclude material that third parties seek to post online is perforce im-
   12   mune under section 230.”). Because “removing content is something publishers do, []
   13   impos[ing] liability on the basis of such conduct necessarily involves treating the lia-
   14   ble party as a publisher of the content it failed to remove.” Barnes, 570 F.3d at 1103
   15   (emphasis added). Accordingly, Section 230 barred the plaintiff’s claim, as the claim
   16   would require Yahoo to be treated as a “publisher or speaker” of the indecent profiles.
   17   Stated differently, “subsection 230(c)(1) precludes liability when the duty the plaintiff
   18   alleges the defendant violated derives from the defendant’s status or conduct as a pub-
   19   lisher or speaker.” Id. at 1107.
   20          The same is true here—Cloudflare has no obligation to remove content posted
   21   by the Hacker and Section 230 precludes Cloudflare from liability for its alleged fail-
   22   ure to remove the content.7 See, e.g., Fair Hous., 521 F.3d at 1174 (“[Section 230] is
   23   an immunity statute[], a provision enacted to protect websites against the evil of lia-
   24
           7
   25       Section 230 applies to not only state-law causes of action but also federal-law
      causes of action. See, e.g., Chicago Lawyers’ Comm. for Civil Rights Under Law, Inc.
   26 v. Craigslist, Inc., 519 F.3d 666, 672 (7th Cir. 2008) (Section 230 immunized claim
      based on federal Fair Housing Act); e360Insight, LLC v. Comcast Corp., 546 F. Supp.
   27 2d 605, 609 (N.D. Ill. 2008) (dismissing federal law claims based on Section 230 im-
      munity); Obado v. Magedson, 13-CV-2382, 2014 WL 3778261, at *8 (D.N.J. July 31,
   28 2014) (“Defendants are entitled to immunity from all of Plaintiff’s claims—state and
      federal—under § 230 of the CDA.”).
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    1   bility for failure to remove offensive content. . . . [C]ases . . . must be resolved in favor
    2   of immunity, lest we cut the heart out of section 230 by forcing websites to face death
    3   by ten thousand duckbites, fighting off claims that they promoted or encouraged—or
    4   at least tacitly assented to—the illegality of third parties.”) (emphasis added).8
    5                2.     The DTSA Claim Fails Under Twombly And Iqbal
    6          The Court should also dismiss Plaintiff’s DTSA claim because it is implausible.
    7   Federal law allows “[a]n owner of a trade secret that is misappropriated [to] bring a
    8   civil action[.]” 18 U.S.C. § 1836(b)(1). “Misappropriation” means:
    9                (A) acquisition of a trade secret of another by a person who
   10                knows or has reason to know that the trade secret was ac-
   11                quired by improper means; or
   12                (B) disclosure or use of a trade secret of another without
   13                express or implied consent by a person who—
   14                       (i) used improper means to acquire knowledge of the
   15                trade secret;
   16                       (ii) at the time of disclosure or use, knew or had rea-
   17                son to know that the knowledge of the trade secret was—(I)
   18                derived from or through a person who had used improper
   19                means to acquire the trade secret; (II) acquired under cir-
   20                cumstances giving rise to a duty to maintain the secrecy of
   21                the trade secret or limit the use of the trade secret; or (III)
   22                derived from or through a person who owed a duty to the
   23

   24

   25      8
             Plaintiff may argue that Section 230 does not doom its DTSA claim because 47
   26 U.S.C.  § 230(e)(2) states that “[n]othing in this section shall be construed to limit or
      expand any law pertaining to intellectual property.” Any such argument lacks merit,
   27 because the DTSA specifically states that “[t]his section and the amendments made by
      this section shall not be construed to be a law pertaining to intellectual property for
   28 purposes of any other Act of Congress.” Defend Trade Secrets Act of 2016, PL 114-
      153, May 11, 2016, 130 Stat 376 (Section 2(g)) (emphasis added).
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    1                person seeking relief to maintain the secrecy of the trade se-
    2                cret or limit the use of the trade secret; or
    3                       (iii) before a material change of the position of the
    4                person, knew or had reason to know that—(I) the trade se-
    5                cret was a trade secret; and (II) knowledge of the trade se-
    6                cret had been acquired by accident or mistake.
    7   18 U.S.C. § 1839(5) (emphases added).
    8          Plaintiff alleges that Cloudflare is liable under 18 U.S.C. § 1832(a)(1)-(3) for
    9   “either knowingly and intentionally stealing and/or misappropriating, receiving and/or
   10   possessing without authorization the Misappropriated Trade Secrets.” Compl. ¶ 70.
   11   To begin with, Plaintiff pleads no facts that Cloudflare “stole” any trade secrets—
   12   instead, Plaintiff pleads that the Hacker, along with other unnamed Doe defendants,
   13   committed the hacking and stole the Misappropriated Trade Secrets. Id. ¶ 3.
   14          That leaves Plaintiff with the allegation that Cloudflare “misappropriat[ed], re-
   15   ceiv[ed] and/or possess[ed] without authorization the Misappropriated Trade Secrets.”
   16   Id. ¶ 70. As noted above, the DTSA ties misappropriation to certain instances of im-
   17   proper acts of “acquiring” a trade secret, or improperly “disclosing” or “using” a trade
   18   secret. Cloudflare, as an alleged website host, neither acquired, disclosed or used
   19   Plaintiff’s trade secrets. The DTSA does not define misappropriation as the failure to
   20   remove trade secrets from a website.
   21          Even if Cloudflare did somehow “acquire,” “disclose,” or “use” Plaintiff’s
   22   trade secrets (and it did not), the Complaint does not plead that Cloudflare knew that
   23   Plaintiff’s trade secrets had been misappropriated by the Hacker at the time Cloud-
   24   flare allegedly acquired, disclosed, or used the secrets. This is yet another reason to
   25   dismiss Plaintiff’s DTSA claim, as the definition of misappropriation is tied inextri-
   26   cably to knowledge—the DTSA is not a strict liability offense. 18 U.S.C. § 1839(5).
   27          Further, it appears that, by the time Plaintiff requested that Cloudflare remove
   28   Plaintiff’s alleged trade secrets from the Internet, the trade secrets had been posted on

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    1   the Internet for quite some time. Compl. ¶ 24 (Plaintiff came to learn of the “unau-
    2   thorized public postings” over a two-year period). As such, at that point, Cloudflare’s
    3   failure to remove Plaintiff’s materials could not constitute trade-secret misappropria-
    4   tion because Plaintiff’s materials were no longer entitled to trade secret status. See,
    5   e.g., Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1002 (1984) (“Information that is
    6   public knowledge or that is generally known in an industry cannot be a trade secret.”);
    7   18 U.S.C. § 1839(3) (information that is generally known, or ascertainable by proper
    8   means, is not a trade secret). Moreover, Plaintiff does not plead any facts showing that
    9   its alleged trade secrets were stolen by the Hacker after May 11, 2016, the effective
   10   date of the DTSA. Because Plaintiff learned of the hacking “in or about” 2017, see
   11   Compl. ¶ 24, one could reasonably conclude that the hacking took place prior to May
   12   11, 2016, such that DTSA liability would not arise in the first place. See Defend
   13   Trade Secrets Act of 2016, PL 114-153, May 11, 2016, 130 Stat 376 (Section 2(e)
   14   (DTSA liability prospective only)).
   15          Finally, the specific statutes that Cloudflare allegedly violated (assuming they
   16   create a private right of action, which they do not) contain a mens rea requirement:
   17                (a) Whoever, with intent to convert a trade secret . . . and
   18                intending or knowing that the offense will, injure any owner
   19                of that trade secret, knowingly—
   20                      (1) steals, or without authorization appropriates,
   21                takes, carries away, or conceals, or by fraud, artifice, or de-
   22                ception obtains such information;
   23                      (2) without authorization copies, duplicates, sketches,
   24                draws, photographs, downloads, uploads, alters, destroys,
   25                photocopies, replicates, transmits, delivers, sends, mails,
   26                communicates, or conveys such information; [or]
   27

   28

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    1                       (3) receives, buys, or possesses such information,
    2                knowing the same to have been stolen or appropriated, ob-
    3                tained, or converted without authorization; . . .
    4                shall . . . be fined under this title or imprisoned not more
    5                than 10 years, or both.
    6   18 U.S.C. § 1832(a)(1)-(3) (emphases added); Compl. ¶ 70 (alleging violation of 18
    7   U.S.C. § 1832(a)(1)-(3)). Here again, Plaintiff does not plead any plausible facts con-
    8   cerning Cloudflare’s state of mind. Plaintiff certainly does not plead any plausible
    9   facts showing that Cloudflare had any intention of converting a trade secret or intend-
   10   ing (or knowing) that its actions would injure Plaintiff. Nor has Plaintiff pled any
   11   facts showing that Cloudflare knowingly took any action (e.g., stealing, copying,
   12   mailing, receiving, possessing, etc.) with respect to the alleged trade secrets. The fail-
   13 ure to plead any such facts renders the DTSA claim implausible.
   14        C.    The Court Should Dismiss Plaintiff’s Electronic Communications
                   Privacy Act Claim (Count 4)
   15
               Plaintiff does not plead a plausible claim against Cloudflare under the ECPA.
   16
        18 U.S.C. § 2520(a) provides that “any person whose wire, oral, or electronic com-
   17
        munication is intercepted, disclosed, or intentionally used in violation of [the ECPA]
   18
        may in a civil action recover from the person or entity . . . which engaged in that vio-
   19
        lation[.]”9 Accordingly, to hold Cloudflare liable for an ECPA violation, Plaintiff
   20
        must show that (i) its wire, oral, or electronic communication was (ii) intercepted,
   21
        disclosed or intentionally used (iii) by Cloudflare (iv) in violation of the ECPA. Plain-
   22
        tiff’s ECPA claim fails for two independent reasons. First, Cloudflare did not violate
   23
        the ECPA; and second, Plaintiff has not shown that the Hacker did either.
   24
                     1.     Cloudflare Did Not Violate The ECPA
   25
               Plaintiff pleads no plausible facts that Cloudflare violated the ECPA. The only
   26

   27
           9
   28         The ECPA is not affected by Section 230 of the CDA, see 47 U.S.C. §
        230(e)(4), so Cloudflare does not raise Section 230 as a defense to the ECPA claim.
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    1   plausible fact that Plaintiff pleads is that Cloudflare failed to remove Plaintiff’s Mis-
    2   appropriated Trade Secrets from a website allegedly hosted by Cloudflare. See
    3   Compl. ¶¶ 36, 99. Failing to remove content from a website does not constitute a vio-
    4   lation of the ECPA, as the ECPA does not require Cloudflare to remove content from
    5   websites.
    6          The ECPA claim fails because Plaintiff pleads no facts showing that Cloudflare
    7   violated the ECPA—i.e., no plausible facts are pled that Cloudflare:
    8           intentionally intercepted, endeavored to intercept, or procured any other per-
    9               son to intercept or endeavored to intercept, any wire, oral, or electronic
   10               communication (thus violating 18 U.S.C. § 2511(1)(a));
   11           intentionally used, endeavored to use, or procured any other person to use or
   12               endeavor to use any electronic, mechanical, or other device to intercept any
   13               oral communication (thus violating 18 U.S.C. § 2511(1)(b));
   14           intentionally disclosed, or endeavored to disclose, to any other person the
   15               contents of any wire, oral, or electronic communication, knowing or having
   16               reason to know that the information was obtained through the interception
   17               of a wire, oral, or electronic communication in violation of the ECPA (thus
   18               violating 18 U.S.C. § 2511(1)(c)); or
   19           intentionally used, or endeavored to use, the contents of any wire, oral, or
   20               electronic communication, knowing or having reason to know that the in-
   21               formation was obtained through the interception of a wire, oral, or electronic
   22               communication in violation of the ECPA (thus violating 18 U.S.C. §
   23               2511(1)(d)).
   24          Instead, Plaintiff attempts to premise liability against Cloudflare by alleging
   25   that Cloudflare “intentionally disclosed” and “intentionally used” the Misappropriated
   26   Trade Secrets by simply hosting the rgho.st website and failing to remove the materi-
   27

   28

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    1   al. Compl. ¶ 90. But this “secondary” theory of liability fails as a matter of law. See,
    2   e.g., Doe v. GTE Corp., 347 F.3d 655, 658-59 (7th Cir. 2003) (“aiding and abetting”
    3   liability does not exist under ECPA for website host where website offered illegally
    4   obtained videos for sale, nude images from videos passed over host’s network, and
    5   website was stored on host’s servers); In re Carrier IQ, Inc., 78 F. Supp. 3d 1051,
    6   1089 (N.D. Cal. 2015) (“there is simply no secondary liability (such as aiding and
    7   abetting) under the ECPA”); Valentine v. WideOpen W. Fin., LLC, 288 F.R.D. 407,
    8   411-12 (N.D. Ill. 2012) (“[C]ourts have declined to find a private cause of action
    9   against those who aid and abet or conspire with others to intercept, disclose, or use
   10   electronic communications in violation of the ECPA” such that internet service pro-
   11   vider who “merely facilitated” another’s acquisition of plaintiff’s information did not
   12   violate the ECPA) (citing cases); Kirch v. Embarq Mgmt. Co., 10-CV-2047, 2011 WL
   13   3651359, at *7 (D. Kan. Aug. 19, 2011) (“[T]he ECPA, however, does not provide for
   14   secondary liability. . . . [A] defendant does not ‘intercept’ a communication merely by
   15   allowing or enabling, or even directing, another party to intercept communications.”).
   16          As the Seventh Circuit found in Doe v. GTE Corp., web hosts are not subject to
   17   ECPA liability due to another’s improper activities:
   18                A web host, like a delivery service or phone company, is an
   19                intermediary and normally is indifferent to the content of
   20                what it transmits. Even entities that know the information’s
   21                content do not become liable for the sponsor’s deeds. . . .
   22
                     GTE does not want to encourage the surreptitious intercep-
   23
                     tion of oral communications, nor did it profit from the sale
   24
                     of the tapes. It does profit from the sale of server space and
   25
                     bandwidth, but these are lawful commodities whose uses
   26
                     overwhelmingly are socially productive. That web hosting
   27
                     services likewise may be used to carry out illegal activities
   28

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    1                 does not justify condemning their provision whenever a giv-
    2                 en customer turns out to be crooked. . . .
    3
                      [A] web host cannot be classified as an aider and abettor of
    4
                      criminal activities conducted through access to the Internet.
    5
                      Congress is free to oblige web hosts to withhold services
    6
                      from criminals (to the extent legally required screening for
    7
                      content may be consistent with the first amendment), but
    8
                      neither § 2511(a) nor § 2520 can be understood as such a
    9
                      statute.
   10
        347 F.3d at 659 (emphases added). Accordingly, Cloudflare has not violated the
   11
        ECPA by failing to remove illegally obtained materials posted by a third party.10
   12
                Additionally, the ECPA contains an intent element, and Plaintiff has not plau-
   13
        sibly alleged that Cloudflare had the intent to engage in any conduct proscribed by the
   14
        ECPA. See 18 U.S.C. § 2520(a); 18 U.S.C. § 2511(1)(a)-(d). “Intentional,” in the
   15
        ECPA, means more than that one voluntarily engaged in conduct or caused a result—
   16
        the conduct or the causing of the result must have been the person’s “conscious objec-
   17
        tive.” KLA-Tencor Corp. v. Murphy, 717 F. Supp. 2d 895, 905 (N.D. Cal. 2010)
   18
        (“[T]he term ‘intentional’ is narrower than the dictionary definition and requires that
   19
        the defendant have as a conscious objective the conduct or the causing of the result.”);
   20
        In re Pharmatrak, Inc., 329 F.3d 9, 23 (1st Cir. 2003) (“[I]nadvertent interceptions
   21
        are not a basis for criminal or civil liability under the ECPA.”) (citation omitted).11
   22

   23
           10
               The First Amendment would also preclude the imposition of liability on Cloud-
   24   flare (an entity not involved in the alleged hacking), because an initial illegal intercep-
        tion does not render persons not involved in the interception liable for subsequent use
   25   or disclosure of the illegally obtained communications. See, e.g., Bartnicki v. Vopper,
        532 U.S. 514, 534-35 (2001).
   26       11
               See also Sanders v. Robert Bosch Corp., 38 F.3d 736, 742-43 (4th Cir. 1994)
   27   (“The [ECPA] thus requires that interceptions be intentional[.]”) (quotations and cita-
        tion omitted); United States v. Townsend, 987 F.2d 927, 930 (2d Cir. 1993) (to violate
   28   the ECPA, the “defendant’s act must have been the product of defendant’s conscious
        objective rather than the product of a mistake or an accident”).
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    1   Thus, even if Cloudflare disclosed or used any of Plaintiff’s Misappropriated Trade
    2   Secrets (and it did not), Plaintiff has alleged no facts showing that Cloudflare did so
    3   intentionally—i.e., with the conscious objective of violating the ECPA.
    4                 2.     Plaintiff Has Not Pled Facts Plausibly Showing That The Hacker
                             Violated The ECPA
    5
                Plaintiff has not pled sufficient facts showing that its trade secrets were ob-
    6
        tained by the Hacker in violation of the ECPA, thus dooming Plaintiff’s attempt to
    7
        plead an ECPA violation against Cloudflare. In other words, if Plaintiff’s Misappro-
    8
        priated Trade Secrets were not originally obtained in violation of the ECPA, no liabil-
    9
        ity under the ECPA can possibly arise against Cloudflare. 18 U.S.C. § 2520(a); 18
   10
        U.S.C. § 2511(1)(a)-(d).
   11
                For a violation of the ECPA to exist, Plaintiff’s communications must have
   12
        been obtained by the Hacker while they were in transit—i.e., while “in flight”—as
   13
        opposed to while they were in storage.12 See, e.g., Konop v. Hawaiian Airlines, Inc.,
   14
        302 F.3d 868, 878 (9th Cir. 2002) (“[F]or a website such as Konop’s to be ‘intercept-
   15
        ed’ in violation of the Wiretap Act, it must be acquired during transmission, not while
   16
        it is in electronic storage.”); Fraser v. Nationwide Mut. Ins. Co., 352 F.3d 107, 113
   17
        (3d Cir. 2003) (“Every circuit court to have considered the matter has held that an ‘in-
   18
        tercept’ under the ECPA must occur contemporaneously with transmission.”).
   19
                Given the “in flight” requirement, the Eleventh Circuit in United States v. Stei-
   20
        ger, 318 F.3d 1039, 1050 (11th Cir. 2003), noted that “very few seizures of electronic
   21
        communications from computers will constitute ‘interceptions’” because “[t]here is
   22
        only a narrow window during which an E-mail interception may occur—the seconds
   23
        or mili-seconds before which a newly composed message is saved to any temporary
   24

   25
           12
   26        As its name implies, the Stored Communications Act protects stored communi-
      cations. 18 U.S.C. § 2701(a) (proscribing certain actions with respect to “obtain[ing],
   27 alter[ing], or prevent[ing] authorized access to a wire or electronic communication
      while it is in electronic storage”) (emphasis added). Plaintiff does not plead a Stored
   28 Communications Act claim against Cloudflare. See Compl. ¶¶ 52-68 (pleading Stored
      Communications Act claim only against Hacker and Doe defendants).
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    1   location following a send command.” Id. (quotations and citations omitted). Accord-
    2   ingly, “interception of E-mail within the prohibition of [the Wiretap Act] is virtually
    3   impossible.” Id. (citations and quotations omitted).
    4           Here, Plaintiff alleges that the Hacker “obtained access” to Plaintiff’s Misap-
    5   propriated Trade Secrets while they “were in electronic storage[.]” Compl. ¶¶ 55, 91
    6   (emphasis added); see also id. ¶ 3 (Hacker “unlawfully removed contents from Plain-
    7   tiff’s protected computer network” and “improperly acquired Plaintiff’s trade secrets .
    8   . . located within Plaintiff’s protected computer network”).13 Plaintiff does not plead
    9   sufficient facts showing that the e-mails (or any other information) were obtained
   10   while in transfer (i.e., while they were “in flight”), as opposed to while they were in
   11   storage. This precludes Plaintiff’s ECPA claim.
   12           Further, the ECPA requires the “interception” to have occurred in the United
   13   States. See, e.g., Zheng v. Yahoo! Inc., 08-CV-1068, 2009 WL 4430297, at *4 (N.D.
   14   Cal. Dec. 2, 2009) (“the ECPA does not apply outside the United States”). Plaintiff
   15   does not plead that the Hacker intercepted its communications in the United States.
   16   Indeed, Plaintiff is a foreign entity with a Portuguese website domain (i.e., “.pt”) and
   17   does not know who the Hacker is, see Compl. ¶¶ 1, 4, 7—it stands to reason that any
   18   hacking may have occurred overseas. There are certainly no facts in the Complaint
   19   plausibly showing that the Hacker obtained Plaintiff’s communications while in the
   20   United States. As such, Plaintiff’s ECPA claim fails for this independent reason.
   21

   22
           13
   23          Only one convoluted sentence in the Complaint suggests that the Hacker ob-
        tained the Misappropriated Trade Secrets during transmission: “Given the manner and
   24   form in which Defendant Hacker . . . posted the emails containing the Misappropriat-
        ed Trade Secrets on Defendants’ websites, Defendant Hacker . . . intercepted from
   25   Plaintiff’s facilities, email exchanges between Plaintiff’s management containing the
        Misappropriated Trade Secrets during the electronic transmission of such emails from
   26   Plaintiff’s facilities and not while the information is [sic] in electronic storage.”
        Compl. ¶ 95. This allegation, if read to mean that the Hacker obtained the Misappro-
   27   priated Trade Secrets while “in flight,” is entirely conclusory and implausible. For ex-
        ample, posting e-mails on a website says nothing about whether the e-mails were ob-
   28   tained while “in flight” as opposed to while in storage. The Court should thus disre-
        gard the allegation as conclusory under Twombly and Iqbal.
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    1           In sum, because Plaintiff has not pled a plausible ECPA claim against the
    2   Hacker, its ECPA claim against Cloudflare also fails.
    3           D.    The Court Should Dismiss Plaintiff’s Negligent Interference With
                      Prospective Economic Advantage Claim (Count 8)
    4
                The Court should dismiss Plaintiff’s negligent interference with prospective
    5
        economic advantage claim for three independent reasons. First, the claim fails under
    6
        Section 230 of the CDA. Second, CUTSA preempts the claim. Third, the claim is im-
    7
        plausible under Twombly and Iqbal.
    8
                      1.    Section 230 Of The CDA Precludes Plaintiff’s Negligent-
    9                       Interference Claim
   10
                Section 230 bars not only Plaintiff’s Defend Trade Secrets Act claim, but also
   11
        Plaintiff’s state-law claim for negligent interference. 47 U.S.C. § 230(e)(3) (“No
   12
        cause of action may be brought and no liability may be imposed under any State or
   13
        local law that is inconsistent with this section.”). As noted above (see Section
   14
        III.B.1.a), Cloudflare is an interactive computer service that cannot be treated, under
   15
        Section 230, as the publisher of any material uploaded by anyone else to the Internet.
   16
        Section 230 thus immunizes Cloudflare from state-law causes of action like negligent
   17
        interference because, among other things, Cloudflare has no duty to remove any post-
   18
        ings on sites it allegedly hosts, and Plaintiff specifically seeks to hold Cloudflare lia-
   19
        ble under Plaintiff’s negligent-interference claim because Cloudflare allegedly “failed
   20
        to act with reasonable care in [its] conduct related to the Misappropriated Trade Se-
   21
        crets.” Compare, e.g., Section III.B.1.c, above (cases holding no duty to re
   22
        move website content under Section 230) with Compl. ¶ 140 (tying negligent-
   23
        interference claim to Cloudflare’s alleged failure to act).14
   24

   25      14
             Negligent interference is not an intellectual-property claim outside the scope of
   26 Section  230’s immunity. And, even if it could be classified as an intellectual-property
      claim, the Ninth Circuit has held that Section 230 immunizes interactive computer
   27 service providers like Cloudflare from state law intellectual-property claims. See Per-
      fect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1119 (9th Cir. 2007) (“intellectual proper-
   28 ty” carveout in Section 230 applies only to “federal intellectual property” not to state
      intellectual property).
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    1                2.    CUTSA Preempts Plaintiff’s Negligent-Interference Claim
    2          The California Uniform Trade Secrets Act allows a plaintiff to “recover dam-
    3   ages for the actual loss caused by misappropriation.” Cal. Civ. Code § 3426.3(a). Cal-
    4   ifornia courts have found that CUTSA’s “‘comprehensive structure and breadth’ sug-
    5   gests a legislative intent to occupy the field.” K.C. Multimedia, Inc. v. Bank of Am.
    6   Tech. & Operations, Inc., 171 Cal. App. 4th 939, 957 (2009) (emphasis added). “The
    7   CUTSA states that it supersedes other civil remedies based on trade secret misappro-
    8   priation.” ATS Prods., Inc. v. Champion Fiberglass, Inc., 13-CV-02403, 2015 WL
    9   224815, at *1 (N.D. Cal. Jan. 15, 2015) (citing Cal. Civ. Code § 3426.7(b)(2)). Ac-
   10   cordingly, “[c]ourts have consistently held that the CUTSA preempts common law
   11   claims that are based on the same nucleus of facts as the misappropriation of trade se-
   12   crets claim for relief.’” ATS Prods., 2015 WL 224815, at *1 (citations and quotations
   13   omitted) (emphasis added); see also GeoData Sys. Mgmt., Inc. v. Am. Pac. Plastic
   14   Fabricators, Inc., 15-CV-04125, 2016 WL 6601656, at *7 (C.D. Cal. July 25, 2016)
   15   (“The CUTSA preempt[s] claims based on the same nucleus of facts as [an alleged]
   16   trade secret misappropriation.”) (citation and quotations omitted).
   17          A plaintiff cannot use creative pleading to escape the reach of CUTSA preemp-
   18   tion. See, e.g., SunPower Corp. v. SolarCity Corp., 12-CV-00694, 2012 WL 6160472,
   19   at *1, *13 (N.D. Cal. Dec. 11, 2012) (dismissing, as preempted under CUTSA, claims
   20   for breach of confidence, conversion, trespass to chattels, tortious interference, com-
   21   mon law unfair competition, and unfair competition under § 17200 where, “while
   22   stated in various ways, [the] [c]laims allege[] in essence that Defendants violated
   23   [Plaintiff’s] rights by acquiring, disclosing, and/or using, without consent (i.e. misap-
   24   propriating) [Plaintiff’s] proprietary information”). “In other words, common law tort
   25   claims are displaced by CUTSA where they do not genuinely allege alternative legal
   26   theories but are a transparent attempt to evade the strictures of CUTSA by restating a
   27   trade secrets claim as something else.” Loop AI Labs Inc v. Gatti, 15-CV-00798, 2015
   28   WL 5158461, at *2 (N.D. Cal. Sept. 2, 2015) (citation and quotations omitted); Geo-

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    1   Data, 2016 WL 6601656, at *7 (same).
    2           Here, the Court should dismiss Plaintiff’s negligent-interference claim as
    3   preempted by CUTSA.15 Plaintiff seeks to hold Cloudflare liable on its negligent-
    4   interference claim because Cloudflare failed to remove the Misappropriated Trade Se-
    5   crets from a website Cloudflare allegedly hosts. Compl. ¶ 140. This conduct, accord-
    6   ing to Plaintiff, is the exact same conduct that gives rise to its federal trade-secret
    7   misappropriation claim. Id. ¶ 78. The negligent-interference claim thus involves the
    8   same nucleus of operative facts as a CUTSA misappropriation claim, and is subject to
    9   dismissal due to CUTSA preemption.16 See, e.g., Nelson Bros. Prof’l Real Estate LLC
   10   v. Jaussi, 17-CV-0158, 2017 WL 8220703, at *8 (C.D. Cal. Mar. 23, 2017) (dismiss-
   11   ing interference with prospective economic advantage claim as preempted under
   12   CUTSA); Custom Packaging Supply, Inc. v. Phillips, 15-CV-04584, 2015 WL
   13   8334793, at *4 (C.D. Cal. Dec. 7, 2015) (same).
   14                 3.    Plaintiff’s Negligent-Interference Claim Fails To State A Claim
                            Under Twombly and Iqbal
   15

   16           “The elements of a claim for negligent interference with a prospective econom-
   17   ic advantage are as follows: ‘(1) an economic relationship between the plaintiff and
   18
           15
   19          Courts dismiss CUTSA-preempted claims on the pleadings. See, e.g., Nelson
        Bros. Prof’l Real Estate LLC v. Jaussi, 17-CV-0158, 2017 WL 8220703, at *8 (C.D.
   20   Cal. Mar. 23, 2017) (dismissing interference with economic advantage claim as
        preempted under CUTSA on a motion to dismiss); Mobile Active Def., Inc. v. Los An-
   21   geles Unified Sch. Dist., 15-CV-8762, 2016 WL 7444876, at *5 (C.D. Cal. Apr. 6,
        2016) (dismissing common law and statutory unfair competition claim as preempted
   22   by CUTSA).
            16
   23          For present purposes, there are no meaningful differences between a DTSA
        claim and a CUTSA claim. See, e.g., Cedars Sinai Med. Ctr. v. Quest Diagnostic Inc.,
   24   17-CV-5169, 2018 WL 2558388, at *3 (C.D. Cal. Feb. 27, 2018) (“pleading standards
        of Cedars-Sinai’s DTSA and CUTSA claims are the same”); Shapiro v. Hasbro, Inc.,
   25   16-CV-05750, 2016 WL 9024810, at *7 (C.D. Cal. Aug. 15, 2016) (“The definitions
        of ‘trade secret’ and ‘misappropriation’ under the DTSA are almost identical to that of
   26   the CUTSA.”); Veronica Foods Co. v. Ecklin, 16-CV-07223, 2017 WL 2806706, at
        *12 (N.D. Cal. June 29, 2017) (same). And the Court may appropriately dismiss
   27   Plaintiff’s negligent-interference claim as preempted by CUTSA even where Plaintiff
        has not pled a CUTSA claim against Cloudflare. See, e.g., Robert Half Int’l, Inc. v.
   28   Ainsworth, 68 F. Supp. 3d 1178, 1192 (S.D. Cal. 2014) (dismissing certain claims as
        preempted by CUTSA despite plaintiff not asserting a CUTSA claim).
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    1   some third party, with the probability of future economic benefit to the plaintiff; (2)
    2   the defendant’s knowledge of the relationship; (3) intentional [or negligent] acts on
    3   the part of the defendant designed to disrupt the relationship; (4) actual disruption of
    4   the relationship; and (5) economic harm to the plaintiff proximately caused by the acts
    5   of the defendant.’” Livewirecyber, Inc. v. Lee, 17-CV-00645, 2017 WL 4786087, at
    6   *4 (C.D. Cal. Aug. 3, 2017) (quoting Crown Imports, LLC v. Superior Court, 223
    7   Cal. App. 4th 1395, 1404 (2014)). Further, a duty of care must exist between Plaintiff
    8   and Cloudflare and have been violated. See, e.g., W. Air Charter, Inc. v. Schembari,
    9   17-CV-00420, 2017 WL 7240775, at *5 (C.D. Cal. Dec. 14, 2017); Arc Machines,
   10   Inc. v. Indus. Sols. & Innovations, LLC, 13-CV-9473, 2014 WL 12687418, at *2
   11   (C.D. Cal. July 8, 2014).
   12          Plaintiff has not plausibly pled, among other things, (i) that Cloudflare had any
   13   knowledge of Plaintiff’s alleged economic relationships, (ii) that Cloudflare’s actions
   14   were negligent, (iii) that Cloudflare’s actions were designed to disrupt any of Plain-
   15   tiff’s relationships, (iv) that any actual disruption of a relationship occurred, or (v)
   16   that Cloudflare owed any duty of care to Plaintiff. Instead, Plaintiff simply parrots
   17   some of the elements of a negligent-interference claim, without plausibly alleging any
   18   facts. See Compl. ¶¶ 137-143. Such allegations do not give rise to a plausible claim
   19   under Twombly and Iqbal. The Court should therefore dismiss Plaintiff’s negligent-
   20   interference claim for this independent reason.
   21          E.    The Court Should Dismiss Plaintiff’s Declaratory Judgment Claim
                     (Count 13)
   22
               The Court should dismiss Plaintiff’s cause of action for “declaratory relief” as
   23
        the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, does not create an independ-
   24
        ent cause of action. See, e.g., ISE Entm’t Corp. v. Longarzo, 17-CV-9132, 2018 WL
   25
        1569803, at *10 (C.D. Cal. Feb. 2, 2018) (“[I]t is well-established that the Declaratory
   26
        Judgment Act does not create an independent cause of action.”) (citations and quota-
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        tions omitted); City of Richmond v. Trump, 17-CV-01535, 2017 WL 3605216, at *5
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    1   (N.D. Cal. Aug. 21, 2017) (“The Declaratory Judgment Act creates a remedy for liti-
    2   gants but is not an independent cause of action.”); see also Stock W., Inc. v. Confed-
    3   erated Tribes of the Colville Reservation, 873 F.2d 1221, 1225 (9th Cir. 1989) (“this
    4   Act only creates a remedy”); Ajetunmobi v. Clarion Mortg. Capital, Inc., 595 Fed.
    5   App’x 680, 684 (9th Cir. 2014) (“Declaratory and injunctive relief are remedies, not
    6   causes of action.”).
    7          Nor may Plaintiff, through a declaratory-judgment claim, obtain resolution of
    8   issues that will necessarily be decided in connection with its other substantive claims.
    9   ISE Entm’t Corp, 2018 WL 1569803, at *10; Tirabassi v. Chase Home Fin., LLC, 14-
   10   CV-08790, 2015 WL 1402016, at *11 (C.D. Cal. Mar. 24, 2015) (“Because Plaintiff’s
   11   request for declaratory relief would not entitle him to any relief beyond what Plaintiff
   12   may seek in connection with his substantive claims, a separate request for declaratory
   13   relief is inappropriate.”); Strome v. DBMK Enterprises, Inc., 14-CV-02398, 2014 WL
   14   6485533, at *5 (N.D. Cal. Nov. 19, 2014) (“When the issues to be decided in a de-
   15   claratory judgment would be redundant of other causes of action already before the
   16   court, a court may decline to provide declaratory relief.”).
   17          Finally, because the other causes of action Plaintiff asserts against Cloudflare
   18   do not state claims for relief, Plaintiff is not entitled to declaratory relief. See, e.g.,
   19   Haro v. Trinity Fin. Servs., LLC, 15-CV-1185, 2015 WL 12001260, at *6 (S.D. Cal.
   20   Aug. 31, 2015) (“Because Plaintiff has failed to state a claim elsewhere, she has not
   21   established the ‘substantial controversy’ necessary for a declaratory judgment.”);
   22   Chan v. Chancelor, 09-CV-1839, 2011 WL 5914263, at *6 (S.D. Cal. Nov. 28, 2011)
   23   (same).
   24          F.    The Court Should Dismiss All Of Plaintiff’s Claims Against
                     Cloudflare With Prejudice
   25
               The Court should deny Plaintiff leave to amend on futility grounds—i.e., there
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        is no basis in law to hold Cloudflare liable for the acts of the Hacker, so any amend-
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        ment is futile. See, e.g., Cervantes v. Countrywide Home Loans, Inc., 656 F.3d 1034,
   28

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    1   1041 (9th Cir. 2011) (“[A] district court may dismiss without leave where a plaintiff’s
    2   proposed amendments would fail to cure the pleading deficiencies and amendment
    3   would be futile.”); Caraccioli v. Facebook, Inc., 700 Fed. App’x 588, 590 (9th Cir.
    4   2017) (affirming district court’s denial of motion for leave to amend in Section 230
    5   case); Beckman v. Match.com, LLC, 668 Fed. App’x 759, 760 (9th Cir. 2016) (same);
    6   Hullinger v. Anand, 15-CV-07185, 2015 WL 11072169, at *20 (C.D. Cal. Dec. 22,
    7   2015) (dismissing claim based on CUTSA preemption with prejudice); Custom Pack-
    8   aging, 2015 WL 8334793, at *4 (same).
    9   IV.    CONCLUSION
   10          For these reasons, the Court should dismiss all of Plaintiff’s claims against
   11   Cloudflare with prejudice.
   12

   13   Dated: July 6, 2018                       Respectfully submitted,

   14                                             s/Steven Callahan            .
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   20                                             Counsel for Defendant Cloudflare, Inc.
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    1                               CERTIFICATE OF SERVICE
    2          I hereby certify that on July 6, 2018, I caused a copy of the foregoing document
    3   to be served via electronic mail to all counsel of record who are deemed to have con-
    4   sented to electronic service using the Court’s CM/ECF system.
    5          I declare under penalty of perjury under the laws of the United States of Ameri-
    6   ca that the foregoing is true and correct.
    7                                                       /s/ Steven C. Callahan
    8                                                       Steven C. Callahan

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